                 Case 19-40402-elm11 Doc 1 Filed 01/31/19                          Entered 01/31/19 19:05:12                 Page 1 of 20

)LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\\RXUFDVH

8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH

1257+(51',675,&72)7(;$6

&DVHQXPEHU(if known)                                                     &KDSWHU      
                                                                                                                            &KHFNLIWKLVDQ
                                                                                                                             DPHQGHGILOLQJ




2IILFLDO)RUP
9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                                                                          
,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWHWKHGHEWRU
VQDPHDQGFDVHQXPEHULINQRZQ
)RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals, LVDYDLODEOH


   'HEWRU
VQDPH                6XQGDQFH%HKDYLRUDO+HDOWK&DUH,QF

   $OORWKHUQDPHVGHEWRU
     XVHGLQWKHODVW\HDUV
                                  6XQGDQFH&HQWHURI)RUW:RUWK
     ,QFOXGHDQ\DVVXPHG          6XQGDQFH%HKDYLRUDO+HDOWKFDUH6\VWHP
     QDPHVWUDGHQDPHVDQG
     doing business as QDPHV

   'HEWRU
VIHGHUDO
     (PSOR\HU,GHQWLILFDWLRQ      
     1XPEHU(,1


   'HEWRU
VDGGUHVV             3ULQFLSDOSODFHRIEXVLQHVV                                    0DLOLQJDGGUHVVLIGLIIHUHQWIURPSULQFLSDOSODFHRI
                                                                                                 EXVLQHVV

                                  $LUSRUW)UHHZD\
                                  6XLWH
                                  )RUW:RUWK7;
                                  1XPEHU6WUHHW&LW\6WDWH	=,3&RGH                         32%R[1XPEHU6WUHHW&LW\6WDWH	=,3&RGH

                                  7DUUDQW                                                        /RFDWLRQRISULQFLSDODVVHWVLIGLIIHUHQWIURPSULQFLSDO
                                  &RXQW\                                                         SODFHRIEXVLQHVV

                                                                                                 1XPEHU6WUHHW&LW\6WDWH	=,3&RGH


   'HEWRU
VZHEVLWH85/       ZZZVXQEKFFRP


   7\SHRIGHEWRU               &RUSRUDWLRQLQFOXGLQJ/LPLWHG/LDELOLW\&RPSDQ\//&DQG/LPLWHG/LDELOLW\3DUWQHUVKLS//3
                                  3DUWQHUVKLSH[FOXGLQJ//3
                                  2WKHU6SHFLI\




2IILFLDO)RUP                          9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                            SDJH
                     Case 19-40402-elm11 Doc 1 Filed 01/31/19                               Entered 01/31/19 19:05:12                      Page 2 of 20
    'HEWRU    6XQGDQFH%HKDYLRUDO+HDOWK&DUH,QF                                                        &DVHQXPEHUif known
              1DPH



       'HVFULEHGHEWRU
VEXVLQHVV        $Check one:
                                           +HDOWK&DUH%XVLQHVVDVGHILQHGLQ86&$
                                           6LQJOH$VVHW5HDO(VWDWHDVGHILQHGLQ86&%
                                           5DLOURDGDVGHILQHGLQ86&
                                           6WRFNEURNHUDVGHILQHGLQ86&$
                                           &RPPRGLW\%URNHUDVGHILQHGLQ86&
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                                           1RQHRIWKHDERYH

                                           %Check all that apply
                                           7D[H[HPSWHQWLW\DVGHVFULEHGLQ86&
                                           ,QYHVWPHQWFRPSDQ\LQFOXGLQJKHGJHIXQGRUSRROHGLQYHVWPHQWYHKLFOHDVGHILQHGLQ86&D
                                           ,QYHVWPHQWDGYLVRUDVGHILQHGLQ86&ED

                                           &1$,&61RUWK$PHULFDQ,QGXVWU\&ODVVLILFDWLRQ6\VWHPGLJLWFRGHWKDWEHVWGHVFULEHVGHEWRU
                                             6HHKWWSZZZXVFRXUWVJRYIRXUGLJLWQDWLRQDODVVRFLDWLRQQDLFVFRGHV
                                                

       8QGHUZKLFKFKDSWHURIWKH        Check one:
         %DQNUXSWF\&RGHLVWKH
         GHEWRUILOLQJ"
                                           &KDSWHU
                                           &KDSWHU
                                           &KDSWHUCheck all that apply
                                                                    'HEWRU
VDJJUHJDWHQRQFRQWLQJHQWOLTXLGDWHGGHEWVH[FOXGLQJGHEWVRZHGWRLQVLGHUVRUDIILOLDWHV
                                                                     DUHOHVVWKDQ DPRXQWVXEMHFWWRDGMXVWPHQWRQDQGHYHU\\HDUVDIWHUWKDW
                                                                    7KHGHEWRULVDVPDOOEXVLQHVVGHEWRUDVGHILQHGLQ86&',IWKHGHEWRULVDVPDOO
                                                                     EXVLQHVVGHEWRUDWWDFKWKHPRVWUHFHQWEDODQFHVKHHWVWDWHPHQWRIRSHUDWLRQVFDVKIORZ
                                                                     VWDWHPHQWDQGIHGHUDOLQFRPHWD[UHWXUQRULIDOORIWKHVHGRFXPHQWVGRQRWH[LVWIROORZWKH
                                                                     SURFHGXUHLQ86&%
                                                                    $SODQLVEHLQJILOHGZLWKWKLVSHWLWLRQ
                                                                    $FFHSWDQFHVRIWKHSODQZHUHVROLFLWHGSUHSHWLWLRQIURPRQHRUPRUHFODVVHVRIFUHGLWRUVLQ
                                                                     DFFRUGDQFHZLWK86&E
                                                                   7KHGHEWRULVUHTXLUHGWRILOHSHULRGLFUHSRUWVIRUH[DPSOH.DQG4ZLWKWKH6HFXULWLHVDQG
                                                                     ([FKDQJH&RPPLVVLRQDFFRUGLQJWRRUGRIWKH6HFXULWLHV([FKDQJH$FWRI)LOHWKH
                                                                     attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                     2IILFLDO)RUP$ZLWKWKLVIRUP
                                                                    7KHGHEWRULVDVKHOOFRPSDQ\DVGHILQHGLQWKH6HFXULWLHV([FKDQJH$FWRI5XOHE
                                           &KDSWHU


       :HUHSULRUEDQNUXSWF\
         FDVHVILOHGE\RUDJDLQVW
                                           1R
         WKHGHEWRUZLWKLQWKHODVW      <HV
         \HDUV"
         ,IPRUHWKDQFDVHVDWWDFKD
         VHSDUDWHOLVW                              'LVWULFW                                 :KHQ                                  &DVHQXPEHU
                                                     'LVWULFW                                 :KHQ                                  &DVHQXPEHU


     $UHDQ\EDQNUXSWF\FDVHV           1R
        SHQGLQJRUEHLQJILOHGE\D
        EXVLQHVVSDUWQHURUDQ             <HV
        DIILOLDWHRIWKHGHEWRU"
         /LVWDOOFDVHV,IPRUHWKDQ
         DWWDFKDVHSDUDWHOLVW                      'HEWRU     6HH$WWDFKPHQW                                                  5HODWLRQVKLS
                                                     'LVWULFW                                 :KHQ                              &DVHQXPEHULINQRZQ




2IILFLDO)RUP
                                                  9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                               SDJH
                    Case 19-40402-elm11 Doc 1 Filed 01/31/19                            Entered 01/31/19 19:05:12                   Page 3 of 20
    'HEWRU   6XQGDQFH%HKDYLRUDO+HDOWK&DUH,QF                                                   &DVHQXPEHUif known
             1DPH



     :K\LVWKHFDVHILOHGLQ    Check all that apply:
        this district?
                                          'HEWRUKDVKDGLWVGRPLFLOHSULQFLSDOSODFHRIEXVLQHVVRUSULQFLSDODVVHWVLQWKLVGLVWULFWIRUGD\VLPPHGLDWHO\
                                           SUHFHGLQJWKHGDWHRIWKLVSHWLWLRQRUIRUDORQJHUSDUWRIVXFKGD\VWKDQLQDQ\RWKHUGLVWULFW
                                          $EDQNUXSWF\FDVHFRQFHUQLQJGHEWRU
VDIILOLDWHJHQHUDOSDUWQHURUSDUWQHUVKLSLVSHQGLQJLQWKLVGLVWULFW

     'RHVWKHGHEWRURZQRU
        KDYHSRVVHVVLRQRIDQ\
                                    1R
                                               $QVZHUEHORZIRUHDFKSURSHUW\WKDWQHHGVLPPHGLDWHDWWHQWLRQ$WWDFKDGGLWLRQDOVKHHWVLIQHHGHG
        UHDOSURSHUW\RUSHUVRQDO   <HV
        SURSHUW\WKDWQHHGV
        LPPHGLDWHDWWHQWLRQ"                   :K\GRHVWKHSURSHUW\QHHGLPPHGLDWHDWWHQWLRQ"Check all that apply.
                                               ,WSRVHVRULVDOOHJHGWRSRVHDWKUHDWRILPPLQHQWDQGLGHQWLILDEOHKD]DUGWRSXEOLFKHDOWKRUVDIHW\
                                                 :KDWLVWKHKD]DUG"
                                               ,WQHHGVWREHSK\VLFDOO\VHFXUHGRUSURWHFWHGIURPWKHZHDWKHU
                                               ,WLQFOXGHVSHULVKDEOHJRRGVRUDVVHWVWKDWFRXOGTXLFNO\GHWHULRUDWHRUORVHYDOXHZLWKRXWDWWHQWLRQIRUH[DPSOH
                                                 OLYHVWRFNVHDVRQDOJRRGVPHDWGDLU\SURGXFHRUVHFXULWLHVUHODWHGDVVHWVRURWKHURSWLRQV
                                               2WKHU
                                               :KHUHLVWKHSURSHUW\"
                                                                                1XPEHU6WUHHW&LW\6WDWH	=,3&RGH
                                               ,VWKHSURSHUW\LQVXUHG"
                                               1R
                                               <HV     ,QVXUDQFHDJHQF\
                                                          &RQWDFWQDPH
                                                          3KRQH



             6WDWLVWLFDODQGDGPLQLVWUDWLYHLQIRUPDWLRQ

     'HEWRU
VHVWLPDWLRQRI             Check one:
        DYDLODEOHIXQGV
                                            )XQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV
                                            $IWHUDQ\DGPLQLVWUDWLYHH[SHQVHVDUHSDLGQRIXQGVZLOOEHDYDLODEOHWRXQVHFXUHGFUHGLWRUV

     (VWLPDWHGQXPEHURI                                                                                 
        FUHGLWRUV                                                                                                 
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2IILFLDO)RUP
                                             9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                                   SDJH
                     Case 19-40402-elm11 Doc 1 Filed 01/31/19                            Entered 01/31/19 19:05:12                  Page 4 of 20
    'HEWRU    6XQGDQFH%HKDYLRUDO+HDOWK&DUH,QF                                                    &DVHQXPEHUif known
              1DPH



              5HTXHVWIRU5HOLHI'HFODUDWLRQDQG6LJQDWXUHV

    :$51,1*%DQNUXSWF\IUDXGLVDVHULRXVFULPH0DNLQJDIDOVHVWDWHPHQWLQFRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWRRU
               LPSULVRQPHQWIRUXSWR\HDUVRUERWK86&DQG

    'HFODUDWLRQDQGVLJQDWXUH
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        UHSUHVHQWDWLYHRIGHEWRU
                                     ,KDYHEHHQDXWKRUL]HGWRILOHWKLVSHWLWLRQRQEHKDOIRIWKHGHEWRU

                                     ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKLVSHWLWLRQDQGKDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXHGDQGFRUUHFW

                                     ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

                                     ([HFXWHGRQ      -DQXDU\
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    6LJQDWXUHRIDWWRUQH\    X   V6WHSKHQ03H]DQRVN\                                                  'DWH -DQXDU\
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                                     &RQWDFWSKRQH                       (PDLODGGUHVV      VWHSKHQSH]DQRVN\#KD\QHVERRQHFRP

                                     7H[DV
                                     %DUQXPEHUDQG6WDWH




2IILFLDO)RUP
                                             9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                                    SDJH
                      Case 19-40402-elm11 Doc 1 Filed 01/31/19                      Entered 01/31/19 19:05:12                Page 5 of 20
    'HEWRU     6XQGDQFH%HKDYLRUDO+HDOWK&DUH,QF                                            &DVHQXPEHUif known
               1DPH




    )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\\RXUFDVH

    8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH

    1257+(51',675,&72)7(;$6

    &DVHQXPEHU(if known)                                                   &KDSWHU      
                                                                                                                            &KHFNLIWKLVDQ
                                                                                                                             DPHQGHGILOLQJ




                                                           )25092/817$5<3(7,7,21

                                                        3HQGLQJ%DQNUXSWF\&DVHV$WWDFKPHQW



    'HEWRU     5&5+HDOWKFDUH'DOODV//&                                              5HODWLRQVKLSWR\RX               &RPPRQRZQHUVKLS
               1RUWKHUQ'LVWULFWRI7H[DV)RUW
    'LVWULFW   :RUWK'LYLVLRQ                             :KHQ                         &DVHQXPEHULINQRZQ
    'HEWRU     5&5+HDOWKFDUH//&                                                     5HODWLRQVKLSWR\RX               &RPPRQRZQHUVKLS
               1RUWKHUQ'LVWULFWRI7H[DV)RUW
    'LVWULFW   :RUWK'LYLVLRQ                             :KHQ                         &DVHQXPEHULINQRZQ
    'HEWRU     6$6+HDOWKFDUH,QF                                                    5HODWLRQVKLSWR\RX               &RPPRQRZQHUVKLS
               1RUWKHUQ'LVWULFWRI7H[DV)RUW
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2IILFLDO)RUP
                                              9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                     SDJH
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'HEWRUQDPH        6$6+HDOWKFDUH,QF ĞƚĂů͘

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&DVH1R,INQRZQ


2IILFLDO)RUP
&KDSWHURU&KDSWHU&DVHV/LVWRI&UHGLWRUV:KR+DYHWKH/DUJHVW                                                   ;ŽŶƐŽůŝĚĂƚĞĚ>ŝƐƚͿ
8QVHFXUHG&ODLPVDQG$UH1RW,QVLGHUV                                                                                                                                  
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GLVSXWHV'RQRWLQFOXGHFODLPVE\DQ\SHUVRQZKRLVDQDVGHILQHGLQ86&$OVRGRQRWLQFOXGHFODLPVE\
                                                           insider
VHFXUHGFUHGLWRUVXQOHVVWKHXQVHFXUHGFODLPUHVXOWLQJIURPLQDGHTXDWHFROODWHUDOYDOXHSODFHVWKHFUHGLWRUDPRQJWKHKROGHUVRIWKH
ODUJHVWXQVHFXUHGFODLPV

1DPHRIFUHGLWRUDQGFRPSOHWH                                                   1DWXUHRIWKH       ,QGLFDWHLI       $PRXQWRIXQVHFXUHGFODLP
                                             1DPHWHOHSKRQHQXPEHUDQG                             FODLPLV
PDLOLQJDGGUHVVLQFOXGLQJ]LS              HPDLODGGUHVVRIFUHGLWRUFRQWDFW   FODLP               FRQWLQJHQW       ,IWKHFODLPLVIXOO\XQVHFXUHGILOOLQRQO\
FRGH                                                                            IRUH[DPSOH       XQOLTXLGDWHG     XQVHFXUHGFODLPDPRXQW,IFODLPLVSDUWLDOO\
                                                                                 WUDGHGHEWVEDQN   RUGLVSXWHG        VHFXUHGILOOLQWRWDOFODLPDPRXQWDQG
                                                                                 ORDQV                                 GHGXFWLRQIRUYDOXHRIFROODWHUDORUVHWRIIWR
                                                                                 SURIHVVLRQDO                           FDOFXODWHXQVHFXUHGFODLP
                                                                                 VHUYLFHVDQG
                                                                                 JRYHUQPHQW
                                                                                                                       7RWDO&ODLPLI   'HGXFWLRQ        8QVHFXUHGFODLP
                                                                                 FRQWUDFWV
                                                                                                                       SDUWLDOO\         IRUYDOXHRI
                                                                                                                       VHFXUHG            FROODWHUDORU
                                                                                                                                          VHWRII


   'U6+DTXH                              'U6+DTXH                         ,QGHSHQGHQW                                                                       
    32%R[                          7HO                   &RQWUDFWRU
    3ODQR7;                          (PDLO]KDTXH#\DKRRFRP




   6DL9LWWDOD3//&                         6DL9LWWDOD3//&                    9HQGRU                                                                             
    $WWQ'U9HOXUL                         7HO
    /XFNHQEDFK/Q                       (PDLOWRQ\DQHOVRQ#YHOR[PGFRP
    ,UYLQJ7;



   7DUUDQW&RXQW\+RVSLWDO'LVWULFW         7DUUDQW&RXQW\+RVSLWDO'LVWULFW    /RFDO3URYLGHU                                                                    
    32%R[                          7HO                   3DUWLFLSDWLRQ
    )RUW:RUWK7;                     (PDLOODQGRQ#DKFYFRP              )XQGV




   +HDOWK&DUH6HUYLFH&RUS%&%6            +HDOWK&DUH6HUYLFH&RUS%&%6       9HQGRU                                                                             
    FR%OXH&URVV%OXH6KLHOG               (PDLOVXHKDQVRQ#ZHOOVIDUJRFRP
    32%R[
    'DOODV7;



   'DOODV&RXQW\+RVS'LVW/33)             'DOODV&RXQW\+RVS'LVW/33)        /RFDO3URYLGHU                                                                    
    &KDUJH	5HLPEXUVHPHQW,QWHJULW\         7HO                     3DUWLFLSDWLRQ
    16WHPPRQV6WH                 (PDLO-DPHV%ODVLQJDPH#SKKVRUJ    )XQGV
    'DOODV7;




   +HPDQW'D\0'                           +HPDQW'D\0'                      ,QGHSHQGHQW                                                                        
    32%R[                          7HO                     &RQWUDFWRU
    &DUUROOWRQ7;                     (PDLO+HPDQWGD\#DROFRP




 2IILFLDO)RUP                &KDSWHURU&KDSWHU&DVHV/LVWRI&UHGLWRUV:KR+DYHWKH/DUJHVW8QVHFXUHG&ODLPV                                            3DJH
               Case 19-40402-elm11 Doc 1 Filed 01/31/19                                      Entered 01/31/19 19:05:12                               Page 14 of 20


'HEWRUQDPH         6$6+HDOWKFDUH,QF                                                                            &DVH1R,INQRZQ

                                                                        &RQWLQXDWLRQ6KHHW

1DPHRIFUHGLWRUDQGFRPSOHWH                                                              1DWXUHRIWKH       ,QGLFDWHLI       $PRXQWRIXQVHFXUHGFODLP
                                            1DPHWHOHSKRQHQXPEHUDQG                                         FODLPLV
PDLOLQJDGGUHVVLQFOXGLQJ]LS             HPDLODGGUHVVRIFUHGLWRUFRQWDFW               FODLP               FRQWLQJHQW       ,IWKHFODLPLVIXOO\XQVHFXUHGILOOLQRQO\
FRGH                                                                                       IRUH[DPSOH       XQOLTXLGDWHG     XQVHFXUHGFODLPDPRXQW,IFODLPLVSDUWLDOO\
                                                                                            WUDGHGHEWVEDQN   RUGLVSXWHG        VHFXUHGILOOLQWRWDOFODLPDPRXQWDQG
                                                                                            ORDQV                                 GHGXFWLRQIRUYDOXHRIFROODWHUDORUVHWRIIWR
                                                                                            SURIHVVLRQDO                           FDOFXODWHXQVHFXUHGFODLP
                                                                                            VHUYLFHVDQG
                                                                                            JRYHUQPHQW
                                                                                                                                  7RWDO&ODLPLI   'HGXFWLRQ        8QVHFXUHGFODLP
                                                                                            FRQWUDFWV
                                                                                                                                  SDUWLDOO\         IRUYDOXHRI
                                                                                                                                  VHFXUHG            FROODWHUDORU
                                                                                                                                                     VHWRII


   0'5XSLQGHU6LQJK%KDWLD3$          0'5XSLQGHU6LQJK%KDWLD3$                  ,QGHSHQGHQW                                                                        
    32%R[                         (PDLO5XSLQGHU%KDWLD#VXQEKFFRP               &RQWUDFWRU
    3ODQR7;




   &LW\RI*DUODQG8WLOLWLHV               &LW\RI*DUODQG8WLOLWLHV                       8WLOLWLHV                                                                           
    :DOQXW6W                          (PDLO
    *DUODQG7;                       KWWSZZZJDUODQGXWLOLWLHVRUJVHUYLFHBHOHD
                                            VS[



   6RGH[R,QF	$IILOLDWHV                6RGH[R,QF	$IILOLDWHV                        9HQGRU                                                                              
    32%R[                         7HO
    3LWWVEXUJK3$                    (PDLOVKDZQORYHODG\#VRGH[RFRP




 0'7D\ORU0HGLFDO&RQVXOWDQW           0'7D\ORU0HGLFDO&RQVXOWDQW                  ,QGHSHQGHQW                                                                        
   66KLORK6WH                   7HO                                 &RQWUDFWRU
   *DUODQG7;                        )D[
                                            (PDLOHOHQD#RXUIDPLO\GRFWRUFRP



 0'6963V\FKLDWU\3//&                 0'6963V\FKLDWU\3//&                        ,QGHSHQGHQW                                                                        
   $WWQ6UHHQDWK1HNNDODSX0'             7HO                                 &RQWUDFWRU
   1DVK/Q                             (PDLOGRFQVUHHQDWK#\DKRRFRP
   )RUW:RUWK7;




 5HGL$QVZHU//&                         5HGL$QVZHU//&                                9HQGRU                                                                              
   %ULDUSDUN'U6WH
   +RXVWRQ7;




 9L\X1HWZRUN6ROXWLRQV                   9L\X1HWZRUN6ROXWLRQV                          9HQGRU                                                                              
   FR$5:6\VWHPV//&                      7HO
   ,QWHUQDWLRQDO3NZ\              (PDLOWWD\ORU#YL\XQHW
   5LFKDUGVRQ7;




 2IILFLDO)RUP               &KDSWHURU&KDSWHU&DVHV/LVWRI&UHGLWRUV:KR+DYHWKH/DUJHVW8QVHFXUHG&ODLPV                                                        3DJH
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'HEWRUQDPH         6$6+HDOWKFDUH,QF                                                                         &DVH1R,INQRZQ

                                                                              &RQWLQXDWLRQ6KHHW

1DPHRIFUHGLWRUDQGFRPSOHWH                                                           1DWXUHRIWKH       ,QGLFDWHLI       $PRXQWRIXQVHFXUHGFODLP
                                              1DPHWHOHSKRQHQXPEHUDQG                                    FODLPLV
PDLOLQJDGGUHVVLQFOXGLQJ]LS               HPDLODGGUHVVRIFUHGLWRUFRQWDFW          FODLP               FRQWLQJHQW       ,IWKHFODLPLVIXOO\XQVHFXUHGILOOLQRQO\
FRGH                                                                                    IRUH[DPSOH       XQOLTXLGDWHG     XQVHFXUHGFODLPDPRXQW,IFODLPLVSDUWLDOO\
                                                                                         WUDGHGHEWVEDQN   RUGLVSXWHG        VHFXUHGILOOLQWRWDOFODLPDPRXQWDQG
                                                                                         ORDQV                                 GHGXFWLRQIRUYDOXHRIFROODWHUDORUVHWRIIWR
                                                                                         SURIHVVLRQDO                           FDOFXODWHXQVHFXUHGFODLP
                                                                                         VHUYLFHVDQG
                                                                                         JRYHUQPHQW
                                                                                                                               7RWDO&ODLPLI   'HGXFWLRQ        8QVHFXUHGFODLP
                                                                                         FRQWUDFWV
                                                                                                                               SDUWLDOO\         IRUYDOXHRI
                                                                                                                               VHFXUHG            FROODWHUDORU
                                                                                                                                                  VHWRII


 'HDUERUQ1DWLRQDO/LIH,QVXUDQFH          'HDUERUQ1DWLRQDO/LIH,QVXUDQFH&RPSDQ\   9HQGRU                                                                              
   &RPSDQ\                                    7HO
   (DJOH:D\                            )D[
   &KLFDJR,/                          (PDLOFRQWDFWXV#GHDUERUQQDWLRQDOFRP




 5RRN0HGLFDO&RQVXOWDQWV3$               5RRN0HGLFDO&RQVXOWDQWV3$               9HQGRU                                                                              
   $WWQ'U3XVNRRU                          (PDLO
   6+XOHQ6W6WH                   URRNPHGLFDOFRQVXOWDQWV#\DKRRFRP
   30%
   )RUW:RUWK7;




 $PHULFDQ0HFKDQLFDO6HUYLFHV               $PHULFDQ0HFKDQLFDO6HUYLFHV               9HQGRU                                                                              
   32%R[                            7HO
   'DOODV7;                           )D[




 $FDGLDQ$PEXODQFH6HUYLFHV                 $FDGLDQ$PEXODQFH6HUYLFHV                 9HQGRU                                                                              
   32%R[                             7HO
   /DID\HWWH/$                        )D[
                                              (PDLOMFKDLVVRQ#DFDGLDQFRP



 &LUUR(QHUJ\                               &LUUR(QHUJ\                               9HQGRU                                                                              
   FR865HWDLOHUV//&                       (PDLO%XVLQHVV6HUYLFHV#FLUURHQHUJ\FRP
   32%R[
   'DOODV7;




 &LW\2I$UOLQJWRQ8WLOLWLHV              &LW\2I$UOLQJWRQ8WLOLWLHV              8WLOLWLHV                                                                           
   86+Z\                                7HO
   $UOLQJWRQ7;




 2IILFLDO)RUP                 &KDSWHURU&KDSWHU&DVHV/LVWRI&UHGLWRUV:KR+DYHWKH/DUJHVW8QVHFXUHG&ODLPV                                                   3DJH
             Case 19-40402-elm11 Doc 1 Filed 01/31/19                      Entered 01/31/19 19:05:12                                Page 16 of 20


'HEWRUQDPH     6$6+HDOWKFDUH,QF                                                               &DVH1R,INQRZQ

                                                               &RQWLQXDWLRQ6KHHW

1DPHRIFUHGLWRUDQGFRPSOHWH                                             1DWXUHRIWKH       ,QGLFDWHLI       $PRXQWRIXQVHFXUHGFODLP
                                       1DPHWHOHSKRQHQXPEHUDQG                             FODLPLV
PDLOLQJDGGUHVVLQFOXGLQJ]LS        HPDLODGGUHVVRIFUHGLWRUFRQWDFW   FODLP               FRQWLQJHQW       ,IWKHFODLPLVIXOO\XQVHFXUHGILOOLQRQO\
FRGH                                                                      IRUH[DPSOH       XQOLTXLGDWHG     XQVHFXUHGFODLPDPRXQW,IFODLPLVSDUWLDOO\
                                                                           WUDGHGHEWVEDQN   RUGLVSXWHG        VHFXUHGILOOLQWRWDOFODLPDPRXQWDQG
                                                                           ORDQV                                 GHGXFWLRQIRUYDOXHRIFROODWHUDORUVHWRIIWR
                                                                           SURIHVVLRQDO                           FDOFXODWHXQVHFXUHGFODLP
                                                                           VHUYLFHVDQG
                                                                           JRYHUQPHQW
                                                                                                                 7RWDO&ODLPLI   'HGXFWLRQ        8QVHFXUHGFODLP
                                                                           FRQWUDFWV
                                                                                                                 SDUWLDOO\         IRUYDOXHRI
                                                                                                                 VHFXUHG            FROODWHUDORU
                                                                                                                                    VHWRII


 $QJHOLFD                            $QJHOLFD                            9HQGRU                                                                              
   32%R[                     (PDLOFXVWRPHUFDUH#DQJHOLFDFRP
   $WODQWD*$




 2IILFLDO)RUP        &KDSWHURU&KDSWHU&DVHV/LVWRI&UHGLWRUV:KR+DYHWKH/DUJHVW8QVHFXUHG&ODLPV                                              3DJH
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 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

 'HEWRUQDPH         6XQGDQFH%HKDYLRUDO+HDOWK&DUH,QF

 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH            1257+(51',675,&72)7(;$6

 &DVHQXPEHULINQRZQ
                                                                                                                                    &KHFNLIWKLVLVDQ
                                                                                                                                     DPHQGHGILOLQJ



2IILFLDO)RUP
'HFODUDWLRQ8QGHU3HQDOW\RI3HUMXU\IRU1RQ,QGLYLGXDO'HEWRUV                                                                                      
$QLQGLYLGXDOZKRLVDXWKRUL]HGWRDFWRQEHKDOIRIDQRQLQGLYLGXDOGHEWRUVXFKDVDFRUSRUDWLRQRUSDUWQHUVKLSPXVWVLJQDQGVXEPLWWKLV
IRUPIRUWKHVFKHGXOHVRIDVVHWVDQGOLDELOLWLHVDQ\RWKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQWKDWLVQRWLQFOXGHGLQWKHGRFXPHQWDQGDQ\
DPHQGPHQWVRIWKRVHGRFXPHQWV7KLVIRUPPXVWVWDWHWKHLQGLYLGXDO¶VSRVLWLRQRUUHODWLRQVKLSWRWKHGHEWRUWKHLGHQWLW\RIWKHGRFXPHQW
DQGWKHGDWH%DQNUXSWF\5XOHVDQG

:$51,1*%DQNUXSWF\IUDXGLVDVHULRXVFULPH0DNLQJDIDOVHVWDWHPHQWFRQFHDOLQJSURSHUW\RUREWDLQLQJPRQH\RUSURSHUW\E\IUDXGLQ
FRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWRRULPSULVRQPHQWIRUXSWR\HDUVRUERWK86&
DQG



                'HFODUDWLRQDQGVLJQDWXUH


       ,DPWKHSUHVLGHQWDQRWKHURIILFHURUDQDXWKRUL]HGDJHQWRIWKHFRUSRUDWLRQDPHPEHURUDQDXWKRUL]HGDJHQWRIWKHSDUWQHUVKLSRUDQRWKHU
       LQGLYLGXDOVHUYLQJDVDUHSUHVHQWDWLYHRIWKHGHEWRULQWKLVFDVH

       ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKHGRFXPHQWVFKHFNHGEHORZDQG,KDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXHDQGFRUUHFW

                 Schedule A/B: Assets–Real and Personal Property 2IILFLDO)RUP$%
                 Schedule D: Creditors Who Have Claims Secured by Property 2IILFLDO)RUP'
                 Schedule E/F: Creditors Who Have Unsecured Claims 2IILFLDO)RUP()
                 Schedule G: Executory Contracts and Unexpired Leases 2IILFLDO)RUP*
                 Schedule H: Codebtors 2IILFLDO)RUP+
                 Summary of Assets and Liabilities for Non-Individuals 2IILFLDO)RUP6XP
                 $PHQGHGSchedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders2IILFLDO)RUP
                 2WKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQ

       ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

        ([HFXWHGRQ          -DQXDU\                        X V5DMX,QGXNXUL0'
                                                                       6LJQDWXUHRILQGLYLGXDOVLJQLQJRQEHKDOIRIGHEWRU

                                                                       5DMX,QGXNXUL0'
                                                                       3ULQWHGQDPH

                                                                       $XWKRUL]HG'LUHFWRU
                                                                       3RVLWLRQRUUHODWLRQVKLSWRGHEWRU




2IILFLDO)RUP                                             'HFODUDWLRQ8QGHU3HQDOW\RI3HUMXU\IRU1RQ,QGLYLGXDO'HEWRUV
6RIWZDUH&RS\ULJKWF%HVW&DVH//&ZZZEHVWFDVHFRP                                                                            %HVW&DVH%DQNUXSWF\
              Case 19-40402-elm11 Doc 1 Filed 01/31/19                                  Entered 01/31/19 19:05:12                     Page 18 of 20
                                                               8QLWHG6WDWHV%DQNUXSWF\&RXUW
                                                                        1RUWKHUQ'LVWULFWRI7H[DV
 ,QUH      6XQGDQFH%HKDYLRUDO+HDOWK&DUH,QF                                                                     &DVH1R
                                                                                    'HEWRUV                         &KDSWHU        

                                                          /,672)(48,7<6(&85,7<+2/'(56
)ROORZLQJLVWKHOLVWRIWKH'HEWRU
VHTXLW\VHFXULW\KROGHUVZKLFKLVSUHSDUHGLQDFFRUGDQFHZLWKUXOHDIRUILOLQJLQWKLV&KDSWHU&DVH

 1DPHDQGODVWNQRZQDGGUHVVRUSODFHRI                               6HFXULW\&ODVV 1XPEHURI6HFXULWLHV                       .LQGRI,QWHUHVW
 EXVLQHVVRIKROGHU
 $VKRR5DR0'                                                                      
 $LUSRUW)UHHZD\
 6XLWH
 )RUW:RUWK7;

 .LVKRUH6XQNDUD0'                                                                
 $LUSRUW)UHHZD\
 6XLWH
 )RUW:RUWK7;

 35DMX,QGXNXUL0&                                                               
 $LUSRUW)UHHZD\
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 )RUW:RUWK7;


'(&/$5$7,2181'(53(1$/7<2)3(5-85<21%(+$/)2)&25325$7,21253$571(56+,3

        ,WKH$XWKRUL]HG'LUHFWRURIWKHFRUSRUDWLRQQDPHGDVWKHGHEWRULQWKLVFDVHGHFODUHXQGHUSHQDOW\RISHUMXU\WKDW
,KDYHUHDGWKHIRUHJRLQJ/LVWRI(TXLW\6HFXULW\+ROGHUVDQGWKDWLWLVWUXHDQGFRUUHFWWRWKHEHVWRIP\LQIRUPDWLRQDQG
EHOLHI



 'DWH -DQXDU\                                                         6LJQDWXUH V5DMX,QGXNXUL0'
                                                                                            5DMX,QGXNXUL0'

                       Penalty for making a false statement of concealing property:)LQHRIXSWRRULPSULVRQPHQWIRUXSWR\HDUVRUERWK
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              Case 19-40402-elm11 Doc 1 Filed 01/31/19                               Entered 01/31/19 19:05:12       Page 19 of 20



                                                               8QLWHG6WDWHV%DQNUXSWF\&RXUW
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                                                                                                       BTXN 170



                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS

IN RE:                                             §
                                                   §
____________________________
Sundance Behavioral Health Care Inc                §                Case No. 19-
                                                                             _________________
                                                   §
                          Debtor(s)                §                Chapter _____
                                                                              11

                          DECLARATION FOR ELECTRONIC FILING OF
                   BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)

PART I: DECLARATION OF PETITIONER:

         As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation,
partnership, or limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on
behalf of, the debtor in accordance with the chapter of title 11, United States Code, specified in the petition to be
filed electronically in this case. I have read the information provided in the petition and in the lists of creditors to
be filed electronically in this case and I hereby declare under penalty of perjury that the information provided
therein, as well as the social security information disclosed in this document, is true and correct. I understand that
this Declaration is to be filed with the Bankruptcy Court within seven (7) business days after the petition and lists of
creditors have been filed electronically. I understand that a failure to file the signed original of this Declaration will
result in the dismissal of my case.

G        [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] –
         I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I
         am aware that I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the
         relief available under each chapter, and choose to proceed under chapter 7.

G        [Only include if petitioner is a corporation, partnership or limited liability company] –
         I hereby further declare under penalty of perjury that I have been authorized to file the petition and lists of
         creditors on behalf of the debtor in this case.

Date: _____________.
         1/31/2019                ___________________________
                                        /s/ Raju Indukuri, M.D.              ___________________________
                                  Debtor                                     Joint Debtor




PART II: DECLARATION OF ATTORNEY:

         I declare under penalty of perjury that: (1) I will give the debtor(s) a copy of all documents referenced by
Part I herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an
individual with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11,
United States Code, and have explained the relief available under each such chapter.


Date: _____________.
        1/31/2019

                                                                    _________________________
                                                                       /s/ Stephen M. Pezanosky
                                                                    Attorney for Debtor
